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                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE


 In re                                        Chapter 11

 YELLOW CORPORATION, et al.,                  Case Nos. 23-11069 (CTG), et seq.
                                              (jointly administered)
                Debtors.                      Re: Docket No(s).



                ORDER GRANTING PAUL EDWARD FOWLER’S
                MOTION FOR RELIEF FROM THE AUTOMATIC
              STAY TO PURSUE NON-BANKRUPTCY LITIGATION

         UPON CONSIDERATION of the Motion for Relief From The Automatic Stay

(the “Motion”) filed by Paul Edward Fowler (“Movant”), and any response thereto;

the Court having determined that (A) the Court has jurisdiction over the Motion

pursuant to 28 U.S.C. §§ 1334 and 157; (B) this is a core proceeding pursuant to 28

U.S.C. § 157; (C) venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and (D)

service to the limited parties stated on the Certificate of Service is adequate under the

circumstances; and the Court having further determined that cause exists to grant the

relief requested in the Motion; it is hereby ORDERED as follows:

         1.     The Motion is GRANTED, as set forth herein. All capitalized terms not

otherwise defined herein shall have the respective meanings set forth in the Motion.

         2.     The automatic stay set forth in 11 U.S.C. § 362(a) is hereby lifted and

modified to permit Movant to prosecute the claims arising from a certain accident
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between with a vehicle owned and/or operated by one or more of the Debtors on the

southbound side of I-285 at its intersection with Mile Marker 11 in the State of

Georgia (the “Accident”), including but not limited to the claims, in his complaint (the

“Complaint”), as may be amended from time to time, pending before the State Court

of Fulton County, Georgia (the “State Court”), in the case styled as Paul Edward

Fowler v. Johnnie Henderson et al., Case No. 22EV006644 (the “State Court Case”),

including any appeals; provided that he shall enforce such claims only against third-

party non-debtors, including but not limited to the Debtors’ applicable insurance

carriers. Without limiting the foregoing, any insurance carrier is authorized to pay any

judgment, award or settlement from the Debtors’ applicable insurance policies and

any proceeds thereof. Except as otherwise set forth herein, the automatic stay pursuant

to § 362 of the Bankruptcy Code shall otherwise remain in full effect.

         3.     Nothing in this order shall limit or affect Movant’s right to file one or

more proofs of claim evidencing the claims set forth in the State Court Complaint and

to receive any distribution available to similarly situated creditors in these Chapter 11

cases.

         4.     Movant represents and warrants that Movant has not sold, assigned,

pledged, or otherwise transferred any claims that they might have against the Debtors

and their estates.




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         5.     No stay of this Order shall be in effect, including but not limited to any

stay contemplated under Fed.R.Bankr.P. 4001(a)(3).

         6.     The Court retains jurisdiction to interpret and enforce the terms of this

order.




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